This is an appeal by the defendant Anaheim Landing, Mining, and Development Company from the judgment and from the order denying its motion for a new trial. The judgment was entered April 14, 1906. The motion for a new trial was denied and the order of denial entered October 18, 1906. Notice of appeal from the judgment and from the order denying a new trial was filed December 18, 1906. The appeal from the judgment, therefore, was taken more than six months from the date of the entry of the *Page 79 
judgment and the appeal from the order denying a new trial was taken sixty-one days after entry of the order.
Upon this condition of the record respondent moves that the appeals be dismissed. No answer is made by the appellant, and, indeed, we see none that could be made; therefore, the court being without jurisdiction to entertain these appeals, it is ordered that they be, and they are, hereby dismissed.
Lorigan, J., and Sloss, J., concurred.